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                   IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF DELAWARE


 JAZZ PHARMACEUTICALS, INC.,

                         Plaintiff,

       v.

 AVADEL CNS PHARMACEUTICALS, LLC, C.A. No. 21-691-GBW


                         Defendant.

 JAZZ PHARMACEUTICALS, INC., et al.,

                         Plaintiffs,

       v.
                                       C.A. No. 21-1138-GBW
 AVADEL CNS PHARMACEUTICALS, LLC,


                         Defendant.
 JAZZ PHARMACEUTICALS, INC., et al.,

                         Plaintiffs,

       v.
                                       C.A. No. 21-1594-GBW
 AVADEL CNS PHARMACEUTICALS, LLC,

                         Defendant.


                     DECLARATION
                    DECLARATION OFOF PATIENTPATIENT
                                   A LUMRYZ NO. 2
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I,                 , declare as follows:

      1.     I am currently taking Lumryz. I understand from Avadel’s attorneys that Jazz

      Pharmaceuticals is asking for a court order that new patients cannot start taking Lumryz.

      I took both Xywav and Xyrem before Lumryz, and I want other people who are like me

      to be able to try Lumryz. I have personal knowledge of the facts below.

      2.     I am a small business owner. I live in New Jersey and own a successful small

      bakery in Philadelphia. We are in the process of opening a second location. I am 38

      years old.

      3.     I was not diagnosed with a sleep disorder until January 2023. I had been suffering

      from symptoms before then and was put on an SSRI for depression, but that depression

      was likely stemming from sleep deprivation. The first doctor to test me for a sleep

      disorder had me take the MSLT (multiple sleep latency test) while I was still taking the

      SSRI. I later learned that the MSLT can be inconclusive for Narcolepsy if the patient is

      taking an SSRI, but I did not know that at the time. With a mean sleep latency of 3.7

      minutes and no SOREMPS observed on the MSLT, I was diagnosed with Idiopathic

      Hypersomnia (IH), and my doctor started me on Xywav. She said that was the only drug

      approved for IH and I was not offered other options. I was prescribed Xywav twice-

      nightly.

      4.     I ended up taking Xywav for approximately seven months. My experience was

      negative throughout. The most pervasive side effect that I experienced was anxiety, or

      rather the physical symptoms of anxiety but also experienced nausea and night sweats.

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      My doctor recommended to lower my dose to get the anxiety under control and also

      added anxiety medication, which helped, but the lower doses didn’t let me get the sleep I

      needed. I would wake up after only one or two hours asleep and be wide awake until it

      was time to take my second dose, and then get only a small amount of sleep after the

      second dose too.

      5.     I switched doctors in July 2023. My new doctor reviewed my history and re-

      diagnosed me as having Narcolepsy Type 1, not IH, on the basis of having a medical

      history of cataplexy. She had to work through the appeals process to convince my

      insurance company to allow me switch to Xyrem, but eventually that was approved. I

      switched to Xyrem in approximately September 2023. Xyrem was immediately night

      and day better than Xywav for me. The anxiety that I had on Xywav went away entirely.

      6.     With Xyrem, I was finally experiencing nights where I got good sleep, but it was

      not every night. I was able to wake up to my alarm to take the second dose most nights,

      but some nights, I would turn the alarm off without knowing it and wake up long after I

      was meant to take the second dose, say around 4 a.m. instead of 3 a.m. It would happen

      on random nights and I did not know when to expect it. When that happened, I would be

      more wide awake and it would take longer to fall asleep after taking the second dose, if I

      was able to take the second dose. If more than four hours have elapsed since the first

      dose, Jazz Pharmaceuticals asserts that you would need to skip the second dose. In

      addition, one is not permitted to drive prior to 6 hours following the second dose.

      Consequently, even when I could take the second dose after missing an alarm, because


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      I’ve awoken within 4 hours, I would still have to be late to work. I own a business, so that

      would seem unproblematic and was on some of those occasions, but it was in fact

      detrimental if that were to occur on a day that it was essential that I be present at the

      bakery in the morning. This would cause unnecessary anxiety around large volume

      holiday order days, when my presence is essential to ensure everything goes smoothly

      and all our customers are happy.

      7.     In addition to the disruption to work and the next day, the sleep I got on those

      nights that weren’t timed perfectly was not good, in part because it is harder to fall asleep

      after the second dose without the advantage of piggy-backing on the first dose. But it

      was still better than when I skipped the second dose. When I did that, the next day was

      terrible. Taking one dose would completely destroy the next day and made me

      uncomfortable to drive on those days. I would be so tired all day and unable to much

      done. That was a rare occurrence for me, but it was awful.

      8.     The unpredictability of when I would have a problem with the second dose

      became a serious problem for me, not just practically, but in a psychological sense as

      well. I found myself obsessing over ways to optimize my Xyrem dosing schedule so that

      I could consistently get nighttime sleep that resembled something healthy and normal.

      Working with my doctor, I would try different changes to the first or second dosages or

      timing of the second dose. That did help initially, as keeping sleep logs while making

      changes gave some clues to what doses and timing would work better. But I would

      continue to second guess myself with any morning that was more groggy than usual, or


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      any night that I had more trouble falling asleep. The flexibility that Xywav and Xyrem

      affords patients is a benefit to many, but for me, with the anxieties that have developed

      around sleep coupled with my perfectionist personality, I found that I was obsessing over

      this too much and I was losing a lot of my life trying to figure out what would let me get

      that normal and healthy sleep that I wanted. I was doing all of this while running a small

      business, which was a challenge.

      9.     I had other issues with Xyrem. I did not like that it was a liquid. It caused me a

      lot of anxiety worrying about spills or mistakes with measuring that would require me to

      dispose of a dose. I did need to report losses twice to Jazz REMS and the conversation

      on the second occasion felt uneasy. Traveling with it was nerve-wracking. The bottles are

      not spill-proof and therefore need to be upright at all times. It was extra stress that I am

      glad to not have with Lumryz.

      10.    I started Lumryz within the last 8 weeks. I had a very smooth transition and was

      on the right dose after one week. I am getting more consistent sleep on Lumryz. My

      nights look the same every night, and my days are also more consistent because my sleep

      is more consistent. I will still every once in a while have a night that is not as great, but I

      think that is just a normal part of having narcolepsy. I do not have the awful days that I

      sometimes had on Xyrem. Having those vastly different days where the whole day is

      terrible because I missed a dose or my whole day has to start later because I took the

      second dose late was such a source of stress for me. Worrying about when those days

      would happen caused me problems even when I wasn’t missing my second dose. That is


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        gone with Lumryz. I now know what is going to happen every night. I take my dose,

        and I know I fall asleep within 30 minutes and I know that I am waking up around 8

        hours later. That is amazing. I might wake up in the middle of the night just like anyone

        else, but I believe that I am consistently getting about 7 hours of sleep, which is what I

        want. I know that I’m waking up feeling rested, and I can tell that I am getting deep

        sleep. Knowing that I will have that experience every night sets my mind at ease. I am,

        for the first time in a long while, satisfied with the sleep I am getting. I hope that Lumryz

        can remain an option for patients.

I declare under penalty of perjury under the laws of the United States of America that the foregoing

declaration is true and correct.



Executed on May 8, 2024

Philadelphia, PA




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                               CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that true and correct copies of the foregoing

document were caused to be served on May 13, 2024 on the following counsel in the manner

indicated below.

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 Dated: May 13, 2024                                   /s/ Daniel M. Silver
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